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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 18-24227-CIV-ALTONAGA/Goodman

   JASON MILLER,

          Plaintiff,
   v.

   GIZMODO MEDIA GROUP, LLC; et al.,

         Defendants.
   _____________________________________/

                                                  ORDER

          THIS CAUSE came before the Court on Defendant, William Menaker’s Renewed Motion

   to Dismiss for Lack of Personal Jurisdiction and Failure to State a Claim [ECF No. 70]. Plaintiff,

   Jason Miller, filed a Response [ECF No. 72], to which Defendant filed a Reply [ECF No. 82]. The

   Court has carefully considered the First Amended Complaint [ECF No. 5], the parties’ written

   submissions, the record, and applicable law. For the following reasons, the Motion is granted.

                                       I.    BACKGROUND

          This case arises over an allegedly defamatory statement published in an article on a news

   website, Splinter, then circulated by other media outlets, and then posted on Twitter. While the

   First Amended Complaint details the alleged defamation, only the allegations relevant to the issue

   of personal jurisdiction are outlined below.

              A. Plaintiff’s Allegations

          Plaintiff is a communications strategist and political manager who served as Senior

   Communications Advisor on President Donald Trump’s 2016 campaign. (See Am. Compl. ¶ 37).

   In February 2017, Plaintiff joined Teneo Strategy, a company that advises Fortune 500 CEOs on
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   crisis communications and media relations. (See id. ¶ 38). In March 2017, Plaintiff also began

   working as a political commentator for CNN, often appearing on national television advocating

   for and defending the Trump Administration. (See id.). He resides in Virginia. (See id. ¶ 18).

            Defendant Katherine Krueger is the Managing Editor of a news website, Splinter, and an

   outspoken critic of the Trump Administration. (See id. ¶ 95). She resides in New York. (See id. ¶

   30). Defendant Gizmodo Media Group, LLC’s sole member is Univision Interactive Media, Inc.

   (“Fusion”), a Delaware corporation with its principal place of business in New York. (See id. ¶

   19). Fusion operates a network of national and local online and mobile websites, including

   Splinter, from offices in New York. (See id. ¶¶ 20–24). Defendant William Menaker, a close

   friend of Krueger’s, is a freelance writer, contributor for the Huffington Post, and host of a podcast

   known for its commentary on the 2016 election. (See id. ¶¶ 116–117). Menaker also resides in

   New York. (See id. ¶ 31).

            The background of this case begins in 2016, when Plaintiff allegedly had an affair with

   Arlene Delgado, who served with Plaintiff on the 2016 campaign. (See id. ¶¶ 37, 40). The alleged

   affair resulted in Deglado’s pregnancy. (See id. ¶ 37). Delgado lives in Miami, Florida. (See id.

   ¶ 32).

            In July 2017, Plaintiff filed a petition in Miami-Dade Family Circuit Court to ensure he

   would be part of his and Delgado’s son’s life. (See id. ¶ 41). The proceedings in Family Court

   turned hostile. (See id. ¶¶ 10, 42–50). In March 2018, Delgado filed a motion in Family Court to

   compel Plaintiff to a psychological evaluation. (See id.; Family Court Case Docket [ECF No. 5-

   9] 13–14). On September 14, 2018, Delgado filed a Supplement to that motion, in which she

   accused Plaintiff of surreptitiously giving a woman an “abortion pill” — inducing an abortion




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   without the woman’s consent years earlier. (Am. Compl. ¶¶ 2, 52, 88, 97–98, 162). From the time

   it was filed, the Supplement was sealed. (See id. ¶ 91).

           On September 21, 2018, Krueger published a news report on Splinter exposing the story

   recounted in the Supplement. (See id. ¶¶ 12, 96–98; see also Splinter Article [ECF No. 5-3]). The

   article, titled “Court Docs Allege Ex-Trump Staffer Drugged Woman He Got Pregnant with

   ‘Abortion Pill,’” included a link to the sealed Supplement. (Am. Compl. ¶ 96). After the Splinter

   report was published, widespread coverage of the story by other media outlets began.

   (See id. ¶ 104).   The coverage prompted Fox News Sunday to cancel Plaintiff’s scheduled

   appearance for the following Sunday, September 23, 2018 (see id.), and by the end of the weekend,

   Plaintiff had lost his job at CNN (see id. ¶¶ 109–111).

           On October 15, 2018, Plaintiff filed his initial Complaint [ECF No. 1] against Krueger and

   Splinter’s corporate parent, Gizmodo.      (See generally Compl.).    Plaintiff stated claims for

   defamation per se (Count I), tortious interference with advantageous business relationships (Count

   II), intentional infliction of emotional distress (Count III), invasion of privacy (Count IV), and

   civil conspiracy (Count V). (See id. ¶¶ 127–173). He sought damages exceeding $100,000,000.00.

   (See id. ¶ 17).

           The next day, Menaker posted on Twitter: “Rat-faced baby-killer and Trump PR

   homunculus, Jason Miller, is suing my girlfriend for $100 million, cool!” (Am. Compl. ¶ 120).

   Menaker’s Twitter post linked to an article in the New York Post’s celebrity news and gossip site

   Page Six about this case, titled “Jason Miller files $100M defamation suit against Gizmodo Media

   Group.” (Id.).

           On October 18, 2018, Plaintiff filed the operative First Amended Complaint, alleging the

   same claims against Defendants Krueger and Gizmodo as in the original Complaint, and adding a



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   defamation per se claim against Menaker (Count VI) for calling Plaintiff a “baby killer” in his

   October 16, 2018 Tweet. (Id. ¶¶ 207–216). Plaintiff alleges significant damages “to his reputation,

   humiliation, embarrassment, mental suffering, shame, emotional distress and other harms . . . .”

   (Id. ¶ 213 (alteration added)).

               B. Motion to Dismiss

           Following jurisdictional discovery, Menaker filed the present Motion, seeking dismissal of

   the First Amended Complaint based on lack of personal jurisdiction and for failure to state a claim

   for relief. 1 (See generally Mot.; Joint Status Report Regarding Jurisdictional Discovery [ECF No.

   67]). Along with their briefing, the parties supply additional facts uncovered through jurisdictional

   discovery for the Court’s consideration.

           Menaker submits his declaration emphasizing his lack of contacts with Florida.

   (See Declaration of William Menaker [ECF No. 70-1] (“Menaker Decl.”)). In his Declaration,

   Menaker states he lives in Brooklyn, New York and has never lived in Florida. (See id. ¶¶ 3–4).

   He does not own any property or have bank accounts in Florida, has never paid taxes or registered

   to vote in Florida, does not have direct investments in any Florida business, and has never been

   employed by a Florida business or resident. (See id. ¶¶ 5–11). Menaker also attests that to the

   best of his recollection, he has only visited Florida four times – twice on family vacations to Disney

   World and twice on family vacations to Key West. (See id. ¶ 13). Plaintiff’s most recent visit to

   Florida was over 10 years ago. (See id.). In addition, and perhaps most significantly, Menaker

   states he did not call anyone in Florida or otherwise communicate with any Florida sources in

   connection with the Twitter post. (See id. ¶ 12).




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    As the Court concludes it lacks personal jurisdiction over Menaker, a threshold inquiry, it does not reach
   whether Plaintiff states a defamation claim in Count VI.
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          Plaintiff provides his own declaration, in which he states although he resides in Virginia,

   he previously resided in Florida. (See Declaration of Jason Miller [ECF No. 72-1] ¶ 1 (“Miller

   Decl.”)). He states CNN has a wide Florida audience, and as part of his employment with Teneo

   Strategy, he works with clients who conduct business in Florida. (See id. ¶ 3). In addition, the

   case in family court is still pending in Miami, Florida; and Delgado and their minor son reside in

   Florida. (See id. ¶¶ 5–6). Plaintiff also explains the Splinter article at issue was about the

   Supplement filed in Miami-Dade Family Court; and Menaker’s October 16, 2018 Twitter post

   called Plaintiff a “baby killer,” referencing this action. (Id. ¶¶ 7–8). Plaintiff contends he has

   “vested personal and economic interests in this state; most importantly [his] minor son, as well as

   [his] paternity case, this lawsuit, and [his] personal and professional reputation.” (Id. ¶ 9

   (alterations added)). He claims his “interests in Florida were harmed by Menaker’s defamatory

   Tweet, and [he] suffered effects of Mr. Menaker’s tweet in Florida, specifically including damage

   to [his] personal and professional reputation in Florida.” (Id. (alterations added)).

          In the Response, Plaintiff also relies on a declaration filed as an exhibit to his Motion for

   Leave to Amend the First Amended Complaint [ECF No. 57]. (See Resp. 4–5, 7). In that

   declaration, Erik Zimmerman, a Project Manager at Trial Consulting Services, LLC, details his

   review of Menaker’s Twitter account. (See Declaration of Erik Zimmerman [ECF No. 57-7] ¶¶

   2–3 (“Zimmerman Decl.”)). At the time of the review, Menaker had approximately 82,000 Twitter

   followers and about 200 of Menaker’s followers listed their location as Florida. (See id. ¶¶ 4, 6–

   7). At least three of Menaker’s Florida Twitter followers “liked, commented on, or retweeted”

   Menaker’s October 16, 2018 Tweet. (Id. ¶¶ 9–11).




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                                    II.   LEGAL STANDARD

          Under Federal Rule of Civil Procedure 12(b)(2), a defendant may move to dismiss a

   complaint for lack of personal jurisdiction. “There are two types of personal jurisdiction: specific

   and general.” Madara v. Hall, 916 F.2d 1510, 1516 n.7 (11th Cir. 1990). “General personal

   jurisdiction is based on a defendant’s substantial activity in [a state] without regard to where the

   cause of action arose,” whereas “specific personal jurisdiction authorizes jurisdiction over causes

   of action arising from or related to the defendant’s actions within [a state].” Louis Vuitton

   Malletier, S.A. v. Mosseri, 736 F.3d 1339, 1352 (11th Cir. 2013) (alterations added; citations

   omitted).

          “In the context of a motion to dismiss for lack of personal jurisdiction in which no

   evidentiary hearing is held, the plaintiff must establish a prima facie case of jurisdiction over a

   non-resident defendant.” Courboin v. Scott, 596 F. App’x 729, 732 (11th Cir. 2014) (per curiam)

   (citations omitted). “A prima facie case is established if the plaintiff presents enough evidence to

   withstand a motion for directed verdict.” Madara, 916 F.2d at 1514 (citation omitted). “The

   district court must accept the facts alleged in the complaint as true, to the extent they are

   uncontroverted by the defendant’s affidavits.” Id. (citation omitted).

          If a plaintiff pleads sufficient facts to support the exercise of personal jurisdiction, the

   burden shifts to the defendant to make a prima facie showing that the court lacks specific personal

   jurisdiction. See Future Tech. Today, Inc. v. OSF Healthcare Sys., 218 F.3d 1247, 1249 (11th Cir.

   2000) (per curiam) (quoting Prentice v. Prentice Colour, Inc., 779 F. Supp. 578, 583 (M.D. Fla.

   1991)). “The defendant then must raise, through affidavits, documents or testimony, a meritorious

   challenge to personal jurisdiction.” Internet Sols. Corp. v. Marshall, 557 F.3d 1293, 1295 (11th

   Cir. 2009) (per curiam) (quoting Sculptchair, Inc. v. Century Arts, Ltd., 94 F.3d 623, 627 (11th



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   Cir. 1996)) (alteration and internal quotation marks omitted). “To the extent not contradicted by

   the defendant’s affidavits, the court should accept the facts alleged in the complaint as true.”

   Sutherland v. SATO Glob. Sols., Inc., No. 17-cv-61596-WPD, 2018 WL 3109627, at *3 (S.D. Fla.

   Apr. 10, 2018) (citing Posner v. Essex Ins. Co., Ltd., 178 F.3d 1209, 1214 (11th Cir. 1999)). “In

   the event of a conflict, all reasonable inferences should be made in favor of the plaintiff.” Id.

   (citation omitted).

                                       III.    DISCUSSION

          Menaker moves to dismiss the First Amended Complaint’s defamation claim in Count VI,

   arguing the Court lacks personal jurisdiction over him. (See generally Mot.). The limited question

   before the Court is whether the Court may exercise specific personal jurisdiction, as Plaintiff does

   not allege general personal jurisdiction over Menaker. (See Am. Compl. ¶ 35; see also Resp.). A

   court may exercise specific personal jurisdiction over a non-resident defendant if: (1) the relevant

   state long-arm statute; and (2) the Due Process Clause of the Fourteenth Amendment to the United

   States Constitution. See Posner, 178 F.3d at 1214 (citation omitted). The Court addresses

   Florida’s long-arm statute and the Due Process Clause in turn.

              A. Florida’s Long-Arm Statute

          Under Florida’s long-arm statute, a court may exercise specific personal jurisdiction over

   a non-resident defendant who engaged in one of the enumerated acts listed under Florida Statute

   section 48.193(1)(a). See Wolf v. Celebrity Cruises, Inc., 683 F. App’x 786, 790 (11th Cir. 2017)

   (per curiam) (quoting Carmouche v. Tamborlee Mgmt., Inc., 789 F.3d 1201, 1203–04 (11th Cir.

   2015)). The scope of Florida’s long-arm statute is a question of Florida law. See Madara, 916

   F.2d at 1514.




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          The relevant portion of the long-arm statute states a defendant may be subject to the

   jurisdiction of a court in Florida “for any cause of action arising from . . . . [c]omitting a tortious

   act within this state.” Fla. Stat. § 48.193(1)(a)(2) (alterations added). In Florida, a nonresident

   defendant “commits the tortious act of defamation in Florida for purposes of Florida’s long-arm

   statute when the nonresident makes allegedly defamatory statements about a Florida resident by

   posting those statements on a website, provided that the website posts containing the statements

   are accessible in Florida and accessed in Florida.” Internet Sols. Corp. v. Marshall, 39 So. 3d

   1201, 1216 (Fla. 2010); see also Internet Sols. Corp. v. Marshall, 611 F.3d 1368, 1370 (11th Cir.

   2010) (adopting standard set forth by the Florida Supreme Court).

          Plaintiff, a Virginia resident, claims Menaker, a New York resident, defamed him in a

   Twitter post accessible to Menaker’s 82,000 Twitter followers. 2 (See Am Compl. ¶¶ 18, 31; see

   also Zimmerman Decl. ¶ 4). Menaker argues Plaintiff fails to establish a prima facie case under

   Florida’s long-arm statute because: (1) Plaintiff does not allege Menaker’s statement was accessed

   by a third party in Florida, and (2) Plaintiff is not a Florida resident. (See Mot. 7–8; Reply 3–4).

   Plaintiff disagrees, drawing the Court’s attention to Zimmerman’s Declaration, which shows third

   parties accessed the Tweet in Florida. (See Resp. 4–5). Plaintiff also contends he need not be a

   Florida resident to benefit from the long-arm statute. (See id. 4–5).

          The Court agrees with Menaker. In Florida, the tort of defamation “is committed in the

   place where the defamatory material is published.” Catalyst Pharms., Inc. v. Fullerton, No. 16-

   25365, 2017 WL 6558397, at *6 (S.D. Fla. Aug. 8, 2017), aff’d 748 F. App’x 944, 947 (11th Cir.

   2018) (internal quotation marks and citations omitted). Where the alleged defamatory statement



   2
     Depending on Menaker’s Twitter settings, his Twitter posts are either publicly available to anyone,
   regardless of whether they have a Twitter account, or limited to his Twitter followers.


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   is published on a website to readers worldwide, the pivotal issue is whether the information was

   “accessed, and thereby published, in Florida.” Id. (dismissing amended complaint for lack of

   personal jurisdiction because complaint did not allege facts showing the statements were accessed

   in Florida); see also Internet Sols. Corp., 39 So. 3d at 1215.

          Plaintiff does not allege Menaker’s Twitter post was accessed by a third party in Florida.

   (See generally Am. Compl.). Although Plaintiff need not reside in Florida to benefit from the

   long-arm statute, Plaintiff does have to allege harm in Florida, which he does not do. Plaintiff thus

   fails to show the Court has long-arm jurisdiction over Menaker. 3

          The question whether Florida’s long-arm statute confers jurisdiction over Menaker would

   be nuanced if the Court were to consider the proposed, new allegations that Menaker’s Tweet was

   accessed by third parties in Florida. The Florida Supreme Court has not addressed whether the

   long-arm statute confers jurisdiction over a non-resident defendant who made defamatory

   statements about a non-Florida plaintiff on a website that was accessed by third parties in Florida.

   Cf. Internet Sols., 39 So. 3d at 1207–16 (emphasizing the allegedly defamatory material was about

   a Florida resident).    While some courts have interpreted Internet Solutions to require the

   defamatory statement target a Florida plaintiff, see Vorbe v. Morisseau, No. 1:14-cv-20751, 2014

   WL 12637924, at *4 (S.D. Fla. Aug. 27, 2014); others have not, see Hongjin Sui v. Wu, No. 8:11-

   cv-37-T-23TBM, 2011 WL 1396994, at *4 (M.D. Fla. Apr. 13, 2011).

          The Court does not resolve this unsettled question of Florida law. Even if the Court

   considered Plaintiff’s new allegations, and ultimately determined Florida’s long-arm statute




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    The Court previously denied Plaintiff’s Motion for Leave to Amend the First Amended Complaint to add
   allegations, based on Zimmerman’s Declaration, that the Tweet was accessed by third parties in Florida.
   (See Order [ECF No. 62]).
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   reached Menaker’s conduct here, Plaintiff cannot satisfy his burden under the “more restrictive”

   Due Process Clause. See Internet Sols., 39 So. 3d at 1216. The Court explains.

              B. Due Process

          In specific personal jurisdiction cases, the Eleventh Circuit applies a three-part due process

   test examining whether: (1) the plaintiff’s claims arise out of or relate to at least one of the

   defendant’s contacts with the forum; (2) the nonresident defendant purposefully availed himself

   of the privilege of conducting activities within the forum state, thereby invoking the benefit of the

   forum state’s laws; and (3) the exercise of personal jurisdiction comports with traditional notions

   of fair play and substantial justice. See Louis Vuitton Malletier, S.A., 736 F.3d at 1355 (citations

   and footnote call number omitted). “The plaintiff bears the burden of establishing the first two

   prongs, and if the plaintiff does so, a defendant must make a compelling case that the exercise of

   jurisdiction would violate traditional notions of fair play and substantial justice.” Id. (internal

   quotation marks and citation omitted). The Court addresses the three elements in turn.

                          1. Relatedness

          For specific personal jurisdiction, a plaintiff’s claim must “arise out of or relate to at least

   one of the defendant’s contacts with the forum.” Id. (internal quotation marks and citations

   omitted). Plaintiff’s defamation claim arises out of Menaker’s October 16, 2018 Twitter post,

   which was accessible to and accessed by Menaker’s Florida Twitter followers. (See Am. Compl. ¶

   208; Zimmerman Decl. ¶¶ 6, 11). The first prong is therefore satisfied. See Gubarev v. Buzzfeed,

   Inc., 253 F. Supp. 3d 1149, 1157–58 (S.D. Fla. 2017).

                          2. Purposeful Availment

          In intentional tort cases, courts may assess the purposeful availment prong using two

   independent inquiries: the effects test, see Calder v. Jones, 465 U.S. 783, 789 (1984), and the



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   traditional minimum contacts test, see Keeton v. Hustler Magazine, Inc., 465 U.S. 770, 779–80

   (1984). See Louis Vuitton Malletier, S.A., 736 F.3d at 1356–57.

          Plaintiff asserts Menaker purposefully availed himself of the privilege of conducting

   activities in Florida under both tests, because Menaker intentionally published the Tweet to his

   followers in Florida and the subject matter of the Tweet – an accusation from his Florida paternity

   case and this lawsuit – involves Florida. (See Resp. 6). Menaker disagrees, pointing out less than

   one percent of his Twitter followers are from Florida, showing the statement was not intended to

   target Florida residents. (See Reply 3–4). Menaker also notes Plaintiff has not alleged any injuries

   in Florida stemming from his Tweet. (See id.).

                          i.      Effects Test

          Under the effects test, a nonresident defendant’s single tortious act can establish purposeful

   availment when the tort was: (1) “intentional; (2) [] aimed at the forum state; and (3) caused harm

   that the defendant should have anticipated would be suffered in the forum state.” Louis Vuitton

   Malletier, S.A., 736 F.3d at 1356 (internal quotation marks and citation omitted; alteration added).

          In Calder, the Supreme Court explained that a California court could exercise jurisdiction

   over the National Enquirer, a Florida corporation, and two Florida journalists, for publishing an

   allegedly libelous article about a California resident where the plaintiff lived and worked in

   California, see Calder 465 U.S. at 788; the “article was drawn from California sources,” id.; the

   National Enquirer’s largest circulation was in California, see id. at 790; and “the brunt of the harm,

   in terms of both [plaintiff’s] emotional distress and the injury to her professional reputation,” was

   in California, id. at 789 (alteration added). The Supreme Court explained the defendants’ actions

   were “expressly aimed at California” because they knew the “brunt of [the] injury” would be felt

   in that state. See id. at 789–90 (alteration added).



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            While the subject matter of the Tweet here is a Florida lawsuit (see Am. Compl. ¶ 120),

   the allegations and jurisdictional discovery reveal only two-tenths of one percent of Menaker’s

   Twitter followers are in Florida (see Reply 3–4); Plaintiff does not live or work in Florida (see Am.

   Compl. ¶ 18); and Menaker did not contact Florida sources about the Twitter post (Menaker Decl.

   ¶ 12). While Plaintiff alleges his appearance on Fox News Sunday was canceled, he lost his job

   at CNN, and his job at Teneo remains in serious jeopardy (see Am. Compl. ¶¶ 104, 109, 111), he

   does not allege any of these harms was suffered in Florida (see generally id.).

           In short, unlike the defendants in Calder, Menaker had no reason to believe the “brunt” of

   Plaintiff’s injury would be felt in Florida. See Calder, 465 U.S. at 789; see also Bioheart, Inc. v.

   Peschong, No. 13-60304-CIV, 2013 WL 1729278, at *5 (S.D. Fla. Apr. 22, 2013) (finding

   defendant who posted allegedly defamatory statements about Bioheart on website message board

   did not purposefully direct his tortious acts toward Florida because there was “no reason for

   [defendant] to have thought that Bioheart’s investors would be located in Florida, as opposed to

   any other state” (alteration added)); Vision Media TV Grp., LLC v. Forte, 724 F. Supp. 2d 1260,

   1266 (S.D. Fla. 2010) (dismissing libel suit for lack of personal jurisdiction where there was no

   evidence “showing that the website at issue targeted Florida or that Defendants acted to aim their

   conduct at a Florida audience”); Sovereign Offshore Servs., LLC v. Shames, No. 17-cv-80172,

   2017 WL 7798664, at *3 n.4 (S.D. Fla. Aug. 3, 2017) (“Defendant’s awareness that consumers

   across the nation may access his blog posts is not enough to support the exercise of personal

   jurisdiction.” (citation omitted)). Plaintiff thus cannot establish Menaker purposefully directed his

   Twitter post to Florida under the Calder effects test. 4


   4
     The case cited by Plaintiff involving Twitter, Boddy v. Pourciau, No. C18-1046JLR, 2018 WL 4637380
   (W.D. Wash. Sept. 27, 2018), also explained posting an allegedly defamatory statement on Twitter does
   not satisfy the “effects test” merely because some members of the Tweet’s audience are connected to the
   forum state. See id. at *5 (“To hold that Defendants are subject to this court’s jurisdiction simply because
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                          ii.    Traditional Minimum Contacts Test

          Nor does Plaintiff establish purposeful availment under the traditional minimum contacts

   test. Again, under the traditional minimum contacts test for purposeful availment, courts assess

   the nonresident defendant’s contacts with the forum state and ask whether those contacts: “(1) are

   related to the plaintiff's cause of action; (2) involve some act by which the defendant purposefully

   availed himself of the privileges of doing business within the forum; and (3) are such that the

   defendant should reasonably anticipate being haled into court in the forum.” Louis Vuitton

   Malletier, S.A., 736 F.3d at 1357 (citation omitted).

          In Keeton, the Supreme Court applied the traditional minimum contacts test, holding New

   Hampshire had jurisdiction over Hustler magazine in a libel suit where Hustler sold “some 10 to

   15,000 copies of Hustler magazine in that State each month.” Keeton, 465 U.S. at 772. The

   Supreme Court reasoned that sales of the copies of the magazine indicated the defendant had

   “continuously and deliberately exploited the New Hampshire market,” and it was therefore

   reasonable for the defendant to “anticipate being haled into court there in a libel action based on

   the contents of its magazine.” Id. at 781 (citation omitted).

          Menaker’s contacts with Florida do not rise to the level of Hustler’s contacts with the forum

   in Keeton because less than one percent of Menaker’s audience was in Florida, and Menaker did

   not profit from posting the Tweet. See id.; see also Madara, 916 F.2d at 1519 (holding Florida

   court did not have personal jurisdiction over non-resident defendant who made an allegedly

   libelous statement during a magazine interview because defendant’s “awareness . . . that a small




   the tweets were viewable in Washington would open Defendants to being haled into every court in the
   country.”).



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   number of copies of the magazine might find their way to Florida is not enough to justify the

   exercise of personal jurisdiction” (alteration added)).

          As Menaker notes, this case is more like Bristol-Myers Squibb Company v. Superior Court

   of California, 137 S. Ct. 1773 (2017), in which the Supreme Court recently held a California court

   lacked specific personal jurisdiction over a nonresident defendant because the relevant plaintiffs

   were “not California residents and d[id] not claim to have suffered harm in that State,” and “all the

   conduct giving rise to the nonresidents’ claims occurred elsewhere.” Id. at 1782 (alteration added).

          Here, too, Plaintiff is not a Florida resident, does not claim to have suffered harm in Florida

   more than anywhere else, and the conduct giving rise to Plaintiff’s claim occurred elsewhere. (See

   generally Am. Compl).      Menaker does not have any other relevant contacts with the forum to

   satisfy minimum contacts. (See generally Menaker Decl.).            Plaintiff thus cannot establish

   purposeful availment under the minimum contacts test.

          In so holding, the Court joins other federal district courts tasked with evaluating the impact

   of a tweet on personal jurisdiction. For example, a federal court in Michigan recently found

   insufficient minimum contacts where the tweet in question “was not tailored to a Michigan

   audience,” and there was no “evidence that [defendant] marketed or circulated the article to people

   in Michigan specifically as opposed to [defendant’s] readers generally.” Vangheluwe v. Got News,

   LLC, No. 18-cv-10542, 2019 WL 468890, at *8 (E.D. Mich. Feb. 6, 2019) (alterations added).

   The court rejected the plaintiff’s attempt at establishing personal jurisdiction through guesswork,

   concluding the defendant’s tweet lacked a Michigan focus. See id. at *9 (quoting Walden v. Fiore,

   571 U.S. 277, 288 (2014)).

          Indeed, courts have uniformly rejected the argument that a tweet, not specifically directed

   to a forum state, is a sufficient minimum contact to confer personal jurisdiction under the Due



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   Process Clause. See Planet Aid, Inc. v. Reveal, Ctr. for Investigative Reporting, No. CV GLR-16-

   2974, 2017 WL 2778825, at *7 n.8 (D. Md. June 26, 2017) (“[E]ven assuming that the Twitter

   users reside in Maryland, [the defendant’s] tweets are insufficient minimum contacts between

   [d]efendants and Maryland.” (alterations added)); see also Edwards v. Schwartz, No. 7:18-cv-378,

   2019 WL 1295055, at *14 (W.D. Va. Mar. 20, 2019) (holding that a defendant did not purposefully

   avail himself of Virginia’s laws, even where defendant’s reputation may have been “damaged in

   Virginia,” because the defendant never took “affirmative steps to direct these communications into

   Virginia” and never “had any intent to target or focus on Virginia readers.”). In line with this

   authority, the Court concludes Menaker’s Tweet lacks a Florida focus, rendering the exercise of

   personal jurisdiction over Menaker impermissible under the Due Process Clause.

                          3. Fair Play and Substantial Justice

          Because Plaintiff fails to meet his burden of establishing purposeful availment, the burden

   does not shift to Menaker to show the exercise of jurisdiction would violate traditional notions of

   fair play and substantial justice. See Louis Vuitton Malletier, S.A., 736 F.3d at 1355. Nevertheless,

   the Court notes this prong also weighs in favor of dismissal.

          The Court looks to five factors in evaluating whether exercising jurisdiction comports with

   fair play and substantial justice: the burden on the defendant, the forum state’s interest in

   adjudicating the dispute, the plaintiff’s interest in obtaining convenient and effective relief, the

   interstate judicial system’s interest in obtaining the most efficient resolution of controversies, and

   the shared interest of several states in advancing fundamental substantive social policies. See

   Burger King Corp. v. Rudzewicz, 471 U.S. 462, 476–77 (1985) (citations omitted).

          While the burden on Menaker of defending this suit in Florida “would be more than

   minimal,” the Court “recognize[s] that modern means of transportation and communication reduce



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   this burden greatly.” Madara, 916 F.2d at 1519 (alteration added). Given due consideration to all

   the relevant factors, the Court concludes “Florida has little interest in adjudicating th[e] action

   [against Menaker] because no party resides in this state, and very few” of Menaker’s Twitter

   followers are in Florida. Id. (alterations added); see also Bioheart, Inc., 2013 WL 1729278, at *5.

   Accordingly, the Court’s exercise of personal jurisdiction over Menaker in this case would offend

   fair play and substantial justice.

                                        IV.   CONCLUSION

           For the foregoing reasons, it is

           ORDERED AND ADJUDGED that Defendant William Menaker’s Renewed Motion to

   Dismiss for Lack of Personal Jurisdiction and Failure to State a Claim [ECF No. 70] is

   GRANTED. Count VI of the First Amended Complaint, directed to William Menaker, is

   DISMISSED without prejudice.

           DONE AND ORDERED in Miami, Florida, this 17th day of April, 2019.



                                                        ________________________________
                                                        CECILIA M. ALTONAGA
                                                        UNITED STATES DISTRICT JUDGE

   cc:     counsel of record




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